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                         UNITED STATES DISTRICT COURT
                         SOUTHERN DISTRICT OF FLORIDA

                          CASE NO. 16-CR-20893-MORENO

  UNITED STATES OF AMERICA

  vs.

  MONTY RAY GROW
  _____________________________/

          REPLY TO THE GOVERNMENT'S OPPOSITION TO THE
         MOTION FOR NEW TRIAL BASED ON NEWLY DISCOVERED
               EVIDENCE AND REQUEST FOR HEARING

        Monty Ray Grow, through undersigned counsel, respectfully files this reply to

  the Government's response in opposition to his Motion for New Trial Based on Newly

  Discovered Evidence (DE 261), and in support of the reply states as follows:

        I.     Juror Cotto Failed to Answer Honestly a Material Question.

        Juror Jansel Jose Febres Cotto was arrested for possession of marijuana on

  November 23, 2014 and again on April 5, 2015. Yet when Mr. Cotto was directly

  questioned on this issue by the Court under oath, he explicitly said that he had never

  been arrested. The Government argues that because Mr. Cotto was not physically

  taken into custody and booked at a jail, he answered honestly when asked about his

  interactions with the criminal justice system. The Government also asserts that the

  records submitted by Mr. Grow "show that the juror was charged with misdemeanor

  offenses, but they do not indicate whether he was arrested... ." However, the exhibits

  to the Government's response unambiguously state that Mr. Cotto was arrested in both

  cases. See Gov. Exs. 1 ("He was arrested & released on a Promise to Appear.")




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  (emphasis added); Gov. Exs. 2 ("[Defendant] was arrested and allowed to PTA.")

  (emphasis added). The fact that Mr. Cotto was subsequently released on a promise to

  appear does not nullify that he was placed under arrest "as that term is commonly

  understood." As such, Mr. Cotto's response that he had never been arrested was false.

        Further, Mr. Cotto did not merely answer "no" to the question of prior arrests.

  The record shows that he thought about the question, and proceeded to answer that

  friends of his had been arrested for possession of drugs, the exact same offense he was

  arrested for, and were treated fairly:

        Q. Have you or anyone close to you ever been arrested?
        A. No.
        Q. You had to think about it a little bit.
        A. I mean, not so close.
        Q. How far?
        A. I mean, friends...
        Q. What were they arrested for?
        A. Possession.
        Q. Of drugs?
        A. Yeah.
        Q. Do you think they were treated fairly?
        A. Yeah.


  [Tr. 01/22/18, p. 121-122]. Mr. Cotto's responses to the Court's straight-forward

  questions demonstrate that his inaccurate answer was not a product of forgetting or

  misremembering. His false statement about "friends" instead of himself seems to have

  been done after some thought.




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         II.    Juror Cotto Would Have Been Stricken for Cause for Lying About
                His Arrests and Saying Instead That His "Friends" Were Arrested.

         There is no question that the criminal record of a prospective juror can provide

  a legitimate basis to challenge for cause. Here, while concealing his own arrests, Mr.

  Cotto indicated that friends of his had positive experiences with the justice system.

  This suggests a pro-government inclination, which would have provided a valid basis

  to challenge for cause.

         Moreover, certainly an intentional lie in response to the Court's questioning, as

  is the case here, establishes a valid reason to strike a prospective juror. Had the

  defense in this case been aware that Mr. Cotto was giving willfully false responses to

  the Court under oath, he would have been stricken for cause.

         III.   Conclusion

         At the very least, this Court should conduct an evidentiary hearing to make

  inquires as to the circumstances surrounding Mr. Cotto’s arrests, the reasons for his

  intentionally untruthful response, and whether there was other information that he

  failed to disclose.

                                                  Respectfully submitted,

                                                  MARKUS/MOSS PLLC
                                                  40 N.W. Third Street, PH1
                                                  Miami, Florida 33128
                                                  Tel: (305) 379-6667
                                                  Fax: (305) 379-6668
                                                  markuslaw.com

                                                  By:   /s/ David Oscar Markus
                                                        DAVID OSCAR MARKUS
                                                        Florida Bar Number 119318
                                                        dmarkus@markuslaw.com



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                          CERTIFICATE OF SERVICE

        This motion was e-filed on December 21, 2018, through CM/ECF.


                                              /s/ David Oscar Markus
                                              David Oscar Markus




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